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                                     IN THE UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION


TREVOR WILLIAMS,                                             §
                                                             §
             Plaintiff,                                      §
                                                             §
v.                                                           §   CIVIL ACTION NO. 3-05CV1383-D
                                                             §
REMINGTON ARMS COMPANY,                                      §
INC.,                                                        §
                                                             §
             Defendant.                                      §


                    INTERVENOR’S RESPONSE TO PLAINTIFF’S MOTION
                      TO ENFORCE SETTLEMENT AND CONSENT TO
                        PARTIAL PAYMENT TO TREVOR WILLIAMS
                           AND BRIEF IN SUPPORT THEREOF


TO THE HONORABLE UNITED STATES DISTRICT COURT:

             Intervenor placed all parties and the court on notice of his contract claim on

October 18, 2006 when it filed its Intervention. While at the time of the

intervention the claim was one in contract, today with an agreed, and at this point

partially funded, settlement between the plaintiff and defendant, the claim is an

assignment of 40% (forty percent) of the gross settlement amount, as well as its

expenses incurred in prosecuting this claim.




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                                                             I.

             Intervenor does not want to see a delay in payment to plaintiff, Mr. Trevor

Williams, of his portion of the settlement, after attorneys fees and expenses.

Accordingly, Intervenor consents to payment of the settlement to Mr. Williams

with 40% (forty percent) of the gross settlement with Defendant reserved to satisfy

his assignment. The remaining 40% (forty percent) of the settlement should be

held in trust by Defendant Remington or placed in the registry of the court until the

attorney fee dispute is resolved.

                                                             II.

             Intervenor’s assignment of forty percent of the underlying tort claim should

be acknowledged by Defendant holding this amount of the settlement in trust or by

placing 40% (forty percent) of the gross settlement amount into the registry of the

court. Plaintiff’s res judicata argument ignores the three different options that are

available in this type of situation.

                            . . .where a plaintiff and defendant, with knowledge that
                           an attorney has been granted an interest in the suit [the assignment],
                           settle the case without recognizing the attorney’s interest, the
                           attorney has several choices: (1) he may prosecute the suit
                           against the defendant in his own name or the plaintiff’s name,
                           prove liability and damages owed by the defendant to the plaintiff,
                           and recover his proportionate share from the judgment; (2) he may
                           sue the client for his share of the sum paid in settlement . . .; or
                           (3) he may ratify the settlement between the plaintiff and
                           defendant, without the necessity of proving

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                           liability and damages in the underlying tort
                           suit by seeking to recover only his proportionate
                           share of the settlement funds.1

             Even if the first route of recovery on the assignment is res judicata, the other

two are not. Since part of this settlement was reached and at least partially funded

without notice to the Intervenor who has an assignment, these three different

options for collection of the assignment are available to Intervenor.

             Intervenor does not seek any interest in or payment from monies that would

ordinarily be distributed to the individual Plaintiff Trevor Williams after payment

of his attorney’s fees and expenses. Intervenor understands that some monies have

already been paid to the Plaintiff and that Plaintiff is entitled to additional proceeds

from what is purported to be $925,000 still to be paid by Remington’s insurer.

Intervenor has no objection to the payment of the remaining funds due to the

plaintiff Trevor Williams individually so long as 40% (forty percent) of the gross

settlement is held in trust by Remington’s insurer or deposited into the registry of

the Court pending a final determination as to fair distribution of attorney’s fees in

this case.




             1
        Honeycutt v. Billingsley, 992 S.W. 2d 570, 585 (Tex. App.- Houston [1st Dist.] 1999, pet.
denied; see also Law Offices of Windle Turley,P. C. v. Ghiasinejad, 109 S.W. 3d 68, 72 (Tex.
App. - Fort Worth 2003, no pet.).
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             WHEREFORE, Intervenor gives notice of the consent to pay all monies due

and owing to Trevor Williams individually except for 40% (forty percent) of the

gross settlement to be held in trust by the Defendant or placed into the registry of

the Court until a final determination is made as to a fair distribution of attorney’s

fees.


                                                             Respectfully submitted,

                                                             TURLEY LAW FIRM



                                                                   /s/
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                                                             ATTORNEY FOR INTERVENOR




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                                                     CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Intervenor’s Response to
Plaintiff’s Motion to Enforce Settlement and Consent to Partial Payment to Trevor
Williams and Brief in Support Thereof has been served on the following counsel of
record via the Court's ECF system on this 15th day of May, 2008.

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                                                                /s/
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